Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 1 of 8 PageID 11715




                         Exhibit N
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 2 of 8 PageID 11716




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

      PIERCE MANUFACTURING INC. and
      OSHKOSH CORPORATION,

             Plaintiff,
      v.                                                       Case No.: 8:18-cv-617-JSM-TGW

      E-ONE, INC. and REV GROUP, INC.,

             Defendants.


              PLAINTIFF PIERCE MANUFACTURING INC.’S OBJECTIONS AND
                       RESPONSES TO DEFENDANT E-ONE, INC.’S
                          SECOND SET OF INTERROGATORIES

             Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Pierce

      Manufacturing Inc. (“Plaintiff” or “Pierce”) hereby objects and responds to Defendant E-One,

      Inc.’s (“Defendant” or “E-One”) Second Set of Interrogatories to Plaintiff Pierce

      Manufacturing Inc. (the “Interrogatories”) as follows.

                      OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

             Pierce incorporates its objects to the definition and instructions set forth in Plaintiff

      Pierce Manufacturing Inc.’s Objections and Responses to Defendant E-One, Inc.’s First Set of

      Interrogatories, served on July 30, 3018, as if fully set forth herein.
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 3 of 8 PageID 11717




                           RESPONSES TO INTERROGATORIES



             For each of the Asserted Patents, describe what You contend to be the level of ordinary

      skill in the relevant art that is applicable to each Asserted Patent, including but not limited to

      the level of knowledge, schooling, experience, expertise, and relevant technical information of

      a person having ordinary skill in the art at the time of the alleged invention recited in the

      Asserted Claims.

      RESPONSE TO INTERROGATORY NO. 15

             Pierce objects to this interrogatory to the extent it seeks information protected by the

      attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

      doctrine of privilege or immunity. As worded, the interrogatory calls for information contained

      in documents authored by counsel, seeking the advice of counsel, or otherwise containing

      privileged information, relating to the development of each Covered Product. Pierce objects

      to this interrogatory as vague and ambiguous insofar as it is unclear what “relevant technical

      information” is referring to and the term is not defined. Pierce further objects to this

      interrogatory as seeking expert testimony. Pierce further objects to this interrogatory as

      premature in that Pierce asked a similar interrogatory of Defendants on June 20, 2018 and

      Defendants have inexplicably yet to provide a substantive response. Pierce will therefore

      substantively respond to this interrogatory after Defendants have provided a substantive

      response.




                                                      2
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 4 of 8 PageID 11718




             For each sale of a Covered Product, identify all apparatus purchased by that customer

      (e.g., the city, municipality, department, etc.) from You (i) for the three years prior to the sale

      of the Covered Product, and (ii) since the sale of the Covered Product.

      RESPONSE TO INTERROGATORY NO. 16

             Pierce objects to this interrogatory to the extent it seeks information protected by the

      attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

      doctrine of privilege or immunity. As worded, the interrogatory calls for information contained

      in documents authored by counsel, seeking the advice of counsel, or otherwise containing

      privileged information, relating to the development of each Covered Product. Pierce objects

      to this interrogatory as overly broad and unduly burdensome, not relevant to any claim or

      defense in this action, and not proportional to the needs of this action. As worded, the

      interrogatory seeks information about sales of other apparatus purchased by customers who

      also purchased an Ascendant, regardless of whether or not that customer was previously a

      Pierce customer or not. Only sales of other apparatus to customers who were not previously

      Pierce customers are relevant.

             As to that portion of Interrogatory No. 16 for which no objection has been made, Pierce

      states that pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, Pierce will produce

      responsive, non-privileged documents in its possession, custody, or control, to the extent such

      documents exist and are located after a reasonable search, from which information responsive

      to this interrogatory may be ascertained. Following the production of such documents, Pierce

      will amend this interrogatory response to identify the Bates ranges of such documents.




                                                      3
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 5 of 8 PageID 11719




             Pierce’s investigation is ongoing, and it reserves the right to supplement its response to

      this interrogatory upon discovery of additional information or documents.



             To the extent You contend that each Asserted Claim is valid over the invalidity grounds

      and prior art identified and charted in Defendants’ Initial Invalidity Contentions served on

      August 6, 2018 and Exhibits 1-5 thereto, state in detail the complete legal and factual bases for

      Your allegations of validity, including, but not limited to, a chart that is responsive to each

      chart provided in those Exhibits 1-5 and that identifies each element of each Asserted Claim

      that You contend is missing from the identified prior art.

      RESPONSE TO INTERROGATORY NO. 17

             Pierce objects to this interrogatory as overly broad and unduly burdensome, not

      relevant to any claim or defense in this action, and not proportional to the needs of this action.

      Pierce further objects to this interrogatory to the extent it seeks information protected by the

      attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

      doctrine of privilege or immunity. As worded, the interrogatory calls for information contained

      in documents authored by counsel, seeking the advice of counsel, or otherwise containing

      privileged information, relating to plaintiffs’ validity positions. Pierce further objects to this

      interrogatory as seeking expert testimony, particularly in its request to “state in detail the

      complete legal and factual bases for Your allegations of validity, including, but not limited to,

      a chart that is responsive to each chart provided in those Exhibits 1-5 and that identifies each

      element of each Asserted Claim that You contend is missing from the identified prior art.”

      Pierce will only identify at this time which elements of each Asserted Claim that You contend




                                                      4
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 6 of 8 PageID 11720




      is missing from the charts attached as Exhibits 1-5 to Defendants’ invalidity contentions. The

      remaining information, if any, will be provided as part of expert discovery. Pierce also objects

      to this interrogatory as premature in that no discovery has been had as to the prior art identified

      by Defendants. Pierce will provide its preliminary response based upon information learned to

      date but reserves the right to amend this response as discovery proceeds. Pierce also objects

      to this interrogatory as overly broad and unduly burdensome, not relevant to any claim or

      defense in this action, and not proportional to the needs of this action to the extent it asks Pierce

      to “state in detail the complete legal and factual bases for Your allegations of validity,

      including, but not limited to, a chart that is responsive to each chart provided in those Exhibits

      1-5 and that identifies each element of each Asserted Claim that You contend is missing from

      the identified prior art.”

              As to that portion of Interrogatory No. 17 for which no objection has been made, Pierce

      states as follows.

              As more fully described below, none of the prior art references disclosed by

      Defendants, alone or in combination, invalidate any of the asserted claims. In addition, when

      Defendants have attempted to combine one or more references or argue that changing what

      was disclosed would have been obvious, Defendants fail to provide meaningful reasons to

      combine the references and ignore the inherent difficulty with simply adding or subtracting

      various elements without analyzing what effect changing the configuration of the fire apparatus

      would have on the weight of the truck and whether or not the additional weight could be

      supported on a single rear axle or if the components could be configured in such a way as to

      counterbalance a moment generated by a tip load when the ladder is in a horizontal orientation,




                                                       5
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 7 of 8 PageID 11721




      among many other issues. Defendants also ignore the secondary indicia of non-obviousness

      disclosed by plaintiffs which establishes that the claimed inventions were not obvious.

      Defendants also fail to establish that the alleged prior art fire apparatus qualify as prior art.

              Plaintiff identifies the following missing elements from each of the Exhibits attached

      to Defendants invalidity contentions. As discovery has just begun and there has been no

      discovery on defendants’ contentions or the alleged pieces of prior art, Plaintiffs reserve the

      right to assert additional missing limitations and arguments as to why defendants cannot meet

      their burden to establish that any of the asserted claims are invalid.

              Exhibit 1 - 1996 Seagrave and prior art combinations therein – Defendants have failed

      to establish that the 1996 Seagrave and the other prior art references included in Exhibit 1

      disclose at least the following elements from each of the Asserted Patents:

              536 patent:

              Claim 1

                   A quint configuration fire apparatus

                   A storage area configured to receive a ground ladder and a fire hose

                   A pump coupled to the chassis

                   A water tank coupled to the chassis

                   Wherein the water tank is configured to contain at least 500 gallons

                   A ladder assembly with the proximal end coupled to the chassis

                   A single rear axle that comprises either: a single solid axle configuration

                      extending laterally across the chassis or a first axle having a first constant




                                                       6
Case 8:18-cv-00617-TPB-TGW Document 254-12 Filed 10/30/19 Page 8 of 8 PageID 11722




        DATED: October 22, 2018         s/ Scott J. Pivnick
                                        DAVID C. WILLIS, ESQUIRE
                                        Florida Bar No. 0477435
                                        E-mail: dwillis@rumberger.com
                                        RUMBERGER, KIRK & CALDWELL, P.A.
                                        Lincoln Plaza, Suite 1400
                                        300 South Orange Avenue
                                        Post Office Box 1873
                                        Orlando, Florida 32802-1873
                                        Telephone: (407) 872-7300
                                        Telecopier: (407) 841-2133

                                        - and -

                                        SARA WHITEHEAD, ESQUIRE
                                        Florida Bar No. 0099218
                                        E-mail: swhitehead@rumberger.com
                                        RUMBERGER, KIRK & CALDWELL, P.A.
                                        100 North Tampa Street, Suite 2000
                                        Tampa, FL 33602-5830
                                        Phone: 813-472-7511
                                        Fax: 813-221-4752

                                        - and -

                                        JOSHUA M. WEEKS, ESQUIRE
                                        Admitted Pro Hac Vice
                                        Georgia Bar No. 545063
                                        E-mail: Joshua.Weeks@alston.com
                                        ALSTON & BIRD LLP
                                        One Atlantic Center
                                        1201 West Peachtree Street, Suite 4200
                                        Atlanta, GA 30309-3424
                                        Phone: 404-881-7000
                                        Fax: 404-881-7777




                                         67
